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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WILLIAM PATTERSON, P/K/A
 SPACEMAN PATTERSON,                                                             10/18/2021

                                   Plaintiff,
                                                                 21-CV-7851 (VSB)
                       -against-
                                                              ORDER OF SERVICE
 CHRISTPHER BREAUX, P/K/A FRANK
 OCEAN,

                                   Defendant.

VERNON S. BRODERICK, United States District Judge:

       Plaintiff, who is proceeding pro se, paid the filing fees to commence this action.

       The Clerk of Court is directed to issue a summons as to Defendant Christopher Breaux,

P/K/A Frank Ocean. Plaintiff is directed to serve the summons and complaint on Defendant

within 90 days of the issuance of the summons. If within those 90 days, Plaintiff has not either

served Defendant or requested an extension of time to do so, the Court may dismiss the claims

against Defendant under Rules 4 and 41 of the Federal Rules of Civil Procedure for failure to

prosecute.

       The Clerk of Court is directed to mail a copy of this order to Plaintiff, together with an

information package.

SO ORDERED.

 Dated:      October 18, 2021
             New York, New York

                                                          VERNON S. BRODERICK
                                                          United States District Judge
